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 3
     Attorney for Defendant Juan Alvarez
 4
 5
                          IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8                                                )
     UNITED STATES OF AMERICA,                    )   Case No.: 2:12-cr-00188-GEB
 9
                                                  )
10                 Plaintiff,                     )   STIPULATION AND ]
                                                  )   ORDER FOR CONTINUANCE OF
11                                                    STATUS CONFERENCE
            vs.                                   )
12                                                )
     JUAN GABRIEL ALVAREZ, et al.,                )
13            Defendants.                         )
14                                                )
15
16          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Status Conference scheduled for June 15, 2012 at 9:00 a.m. is continued to August 10,
18   2012 at 9:00 a.m. in the same courtroom. Michael M. Beckwith, Assistant United States
19   Attorney, and Thomas A. Johnson, attorney for Juan Alvarez, are requesting a
20   continuance in order to continue review of discovery and for preparation of counsel. Mr.
21   Johnson recently substituted into the case and needs additional time to prepare. All
22   parties stipulate and agree that the ends of justice are served by this continuance outweigh
23   the best interest of the public and Defendants in a speedy trial pursuant to 18 U.S.C. §
24   3161(h)(7(A).
25          It is further stipulated that the period from the date of this stipulation through and
26   including August 10, 2012, be excluded in computing the time within which trial must
27   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii), 18
28   U.S.C. § 3161(h)(7)(B)(iv) and Local T4 (reasonable time for preparation of counsel).



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 1   The ends of justice served by the continuance outweigh the best interest in the public and
 2   the Defendants in a speedy trial.
 3
 4   IT IS SO STIPULATED.
 5
                                                               By:     /s/ Thomas A. Johnson
 6   DATED: June 12, 2012                                              THOMAS A. JOHNSON
                                                                       Attorney for Defendant
 7                                                                     JUAN ALVAREZ
 8
 9   DATED: June 12, 2012                                              BENJAMIN WAGNER
                                                                       United States Attorney
10
                                                                By:    /s/ Thomas A. Johnson for
11                                                                     MICHAEL M. BECKWITH
                                                                       Assistant U.S. Attorney
12
13
                                                        ORDER
14
15                         IT IS HEREBY ORDERED that the June 15, 2012, Status Conference be
16   continued to August 10, 2012, at 9:00 a.m. The court finds that the ends of justice
17   warrant an exclusion of time and that the defendants’ need for continuity and reasonable
18   time for preparation exceeds the public interest in a speedy trial. THEREFORE, IT IS
19   FURTHER ORDERED that time be excluded in computing the time within which trial
20   must commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii),
21   18 U.S.C. § 3161(h)(7)(B)(iv) and Local T4 (reasonable time for preparation of counsel).
22   Date: 6/13/2012
23
                                                                _________________________
24                                                              GARLAND E. BURRELL, JR.
25                                                              United States District Judge

26
27   DEAC_Signature-END:




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                                          STIPULATION AND ORDER                -2-
